Case 3:07-cr-30136-DRH-PMF      Document 75      Filed 05/28/08   Page 1 of 2   Page ID
                                      #189



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 vs.

 THOMAS ANTHONY SOTO III,

 Defendant.                                                       No. 07-CR-30136

                                       ORDER

 HERNDON, Chief Judge:

              This matter comes before the Court on Defendant Soto’s motion to

 reconsider release on bond following sentencing. (Doc. 67.) On May 16, 2008, this

 Court held a hearing during which it imposed a sentence upon Defendant. During

 the course of the sentencing, the Court carefully considered the factors weighing for

 and against allowing Defendant to voluntarily surrender to the Bureau of Prisons.

 The Court made a reasoned determination that voluntarily surrender was not

 warranted in Defendant’s case. The Court finds that the additional arguments

 contained within Defendant’s motion to reconsider release on bond do not justify a

 change in the Court’s previous determination.

                The Court still considers the Defendant a serious flight risk and a

 danger to the community. He does not fully accept responsibility for his actions and

 has anger management issue, both evident in his medical records. The Defendant

 was awarded acceptance reductions largely because his mandatory minimum status

 rendered making a sentencing issue of it meaningless. His family has been in contact
Case 3:07-cr-30136-DRH-PMF     Document 75     Filed 05/28/08   Page 2 of 2   Page ID
                                     #190



 with the Court and it is clear that they too do not accept that the Defendant is

 responsible for the crime for which the Defendant has been convicted based on his

 plea. This confirms for the Court his rationale regarding the Defendant’s state of

 mind.

              For all the reasons stated, Defendant’s motion to reconsider (Doc. 67)

 is DENIED.

              IT IS SO ORDERED.

              Signed this 28th day of May, 2008.

                                                    /s/    DavidRHerndon
                                                    Chief Judge
                                                    United States District Court
